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                           IN THE UNITED STATES DISTRICT COURT
                           FOR THE SOUTHERN DISTRICT OF TEXAS
                                   GALVESTON DIVISION

    Autoscribe Corporation                          §
                                                    §
             Plaintiff,                             §
                                                    §
       v.                                           §     Case No. _______________
                                                    §
    Tsevo, LLC and                                  §     JURY TRIAL DEMANDED
    GambleID, LLC                                   §
                                                    §
             Defendants.                            §
                                                    §

            PLAINTIFF’S ORIGINAL COMPLAINT FOR PATENT INFRINGEMENT

            Plaintiff Autoscribe Corporation (“Autoscribe” or “Plaintiff”) hereby submits this Original

Complaint for patent infringement against Defendants Tsevo, LLC (“Tsevo”) and GambleID, LLC

(“GambleID”) (together, “Defendants”) and alleges, based on its own personal knowledge with

respect to its own actions and based upon information and belief with respect to all others’ actions,

as follows:

                                         I.      THE PARTIES

            1.      Autoscribe is a Corporation organized under the laws of the state of Maryland with

its principal place of business at 12276 San Jose Blvd, Suite 624, Jacksonville, FL 32223.

            2.      Tsevo is a Limited Liability Company organized under the laws of Texas, with its

headquarters at 1121 Delano St. Suite 100 Houston, TX 77003. 1 Tsevo can be served through its

registered agent: Corporation Service Company, 211 E. 7TH St. Suite 620, Austin, TX 78701.

            3.      GambleID is a Limited Liability Company organized under the laws of Nevada,

with its headquarters at 1121 Delano St. Suite 100 Houston, TX 77003. 2 GambleID can be served


1
    https://www.tsevo.com (last visited March 10, 2024).
2
    https://www.gambleid.com (last visited March 10, 2024).
                                                     1
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through its registered agent: Corporation Service Company, 112 North Curry Street, Carson City,

NV 89703.

                             II.     JURISDICTION AND VENUE

       4.      This Court has subject matter jurisdiction under 28 U.S.C. §§ 1331 and 1338(a)

because this action arises under the patent laws of the United States, 35 U.S.C. § 1 et seq., including

35 U.S.C. § 271.

       5.      As discussed in greater detail below, Defendants have committed acts of patent

infringement and/or has induced and/or contributed to acts of patent infringement by others in this

judicial district, the State of Texas, and elsewhere in the United States, by making, using, offering

for sale, selling, or importing various products or services that infringe Autoscribe’s Asserted

Patent (defined below).

       6.      As mentioned above, Defendants maintain their headquarters at 1121 Delano St.

Suite 100 Houston, TX 77003, which is located in this district.

       7.      Additionally, Defendants have customers in the District, including, e.g.,

Waterborne Energy and Genscape, Inc. 3

       8.      The Court has personal jurisdiction over Defendants, in part, because Defendants

have minimum contacts within the State of Texas; Defendants have purposefully availed

themselves of the privileges of conducting business in the State of Texas; Defendants regularly

conduct business within the State of Texas; and Autoscribe’s causes of action arise directly from

Defendants’ business contacts and other activities in the State of Texas, including by virtue of


3
 https://tsevo.com/Industry/EnergyOilGas (last visited March 11, 2024); see also
https://pitchbook.com/profiles/company/61792-57 (last visited March 11, 2024) (stating that
Waterborne Energy maintains its corporate office at 2323 South Shepherd Drive Suite 1010
Houston, TX 77019); https://www.woodmac.com/products/short-term-analytics/power/ (last
visited March 11, 2024) (stating that Genscape was acquired by Wood Mackenzie, which
maintains an office at 5847 San Felipe St #1000, Houston, TX 77057).
                                                  2
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Defendants’ infringement in the State of Texas. More specifically, Defendants are subject to the

Court’s general jurisdiction, in part, due to their continuous and systematic contacts with the State

of Texas, including because Tsevo is a Texas LLC and because Defendants share a principal place

of business is in the District. Further, Defendants are subject to the Court’s specific jurisdiction,

in part, because Defendants have committed patent infringement and/or has induced and/or

contributed to acts of infringement by others in the State of Texas such that assertion of personal

jurisdiction is reasonable and fair.

       9.      Venue is proper in this judicial District under 28 U.S.C. § 1400(b) because

Defendants reside in the District and because Defendants have committed patent infringement

and/or has induced and/or contributed to acts of infringement by others in the District and have a

regular and established place of business in the District, as discussed above.

                                       III.   BACKGROUND

       10.     Fraud in credit card and other financial transactions is a major problem, particularly

in the online marketplace. Considerable resources are devoted to securing credit card and other

account information provided to online merchants by payers. A single breach of security incident

can compromise millions of credit card accounts, and such breaches are reported on a regular basis.

As such, customers’ financial data are sensitive in nature and are subject to strict regulations.

Companies that fail to adequately protect customers’ credit card data may face significant legal

and regulatory consequences.

       11.     Autoscribe is a leading financial services company and payment processor,

currently processing more than $2 billion in transactions annually and servicing thousands of

financial institutions and corporate billers across the nation. As part of its mission, Autoscribe has

invested significant resources and capital into developing new technologies to facilitate

transactions and assist billers in meeting their compliance needs while minimizing costs and
                                                  3
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complexity.

         12.     Autoscribe has protected these technologies with a robust and growing patent

portfolio.

         13.     On April 4, 2023, the United States Patent and Trademark Office (“USPTO”) duly

and legally issued United States Patent No. 11,620,621 (“the ’621 Patent” or “the Asserted

Patent”), titled “Enrolling a payer by a merchant server operated by or for the benefit of a payee

and processing a payment from the payer by a secure server.” The Asserted Patent is valid and

enforceable.

         14.     The Asserted Patent is directed to “systems and methods for obtaining and using

account information to process financial payments.”

         15.     Autoscribe is the original applicant and the sole and exclusive owner of all rights,

title, and interest in the Asserted Patent, including the sole and exclusive right to prosecute this

action, to enforce the Asserted Patent against infringers, to collect damages for past, present and

future infringement of the Asserted Patent, and to seek injunctive relief as appropriate under the

law.

         16.     Autoscribe has complied with any marking requirements under 35 U.S.C. § 287

with regard to the Asserted Patent.

         17.     Defendant Tsevo is a financial technology company with a heavy presence in

payments and compliance for several industries, including the “Fantasy, Social, & Regulated

Gaming;” “Energy / Oil & Gas;” and “Fashion & Retail” industries. Through its payment products,

Tsevo has processed hundreds of millions of transactions. 4

         18.     Defendant GambleID is a financial technology company in the gambling industry,



4
    https://www.tsevo.com (last visited March 10, 2024).
                                                  4
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offering “end-to-end payment solutions for gaming.” 5 Through its marketing, GambleID boasts of

“33 million validated players,” including in the “Sports Book / Fantasy,” “Sweepstakes,” “E-

Sports & Social,” “Skill-Based Gaming,” “Casino,” and “Horse Racing” industries. 6

          19.     As discussed in greater detail below, Defendants provide and use processing

solutions, including their “Smart Cashier” and “Token Vault” products, that are covered by the

Asserted Patent.

          20.     Defendants compete directly against Autoscribe, including through their “Smart

Cashier” and “Token Vault” products, causing Autoscribe to lose significant profits.

          21.     Accordingly, Defendants’ infringement, as described below, has injured, and

continues to injure Autoscribe.

                IV.   COUNT I: INFRINGEMENT OF THE ASSERTED PATENT

          22.     Autoscribe incorporates each of the allegations of paragraphs 1–21 above.

          23.     Defendants have directly infringed and continue to directly infringe the Asserted

Patent by, for example, making, using, offering to sell, selling, and/or importing into the United

States, without authority, products or services that practice one or more claims of the Asserted

Patent.

          24.     Defendants are not licensed or otherwise authorized to make, use, offer for sale,

sell or import any products or services that embody the inventions of the Asserted Patent in the

United States.

          25.     Defendants have and continue to directly infringe one or more claims of the

Asserted Patent, including, for example, claim 1, either literally or under the doctrine of

equivalents, by performing every step of the claimed method in violation of 35 U.S.C. § 271.


5
    https://www.gambleid.com (last visited March 10, 2024).
6
    https://www.gambleid.com/#about (last visited March 10, 2024).
                                                  5
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       26.    Defendants’ infringing services include, for example, the services Defendants

provide through their “Smart Cashier” and “Token Vault” products, as well as any other similar

methods performed by Defendants (collectively, the “Infringing Methods”).

       27.    For example, Representative Claim 1 of the Asserted Patent claims:

       A method of processing a payment transaction from a payer to a payee, the method
       being performed by one or more secure servers, the method comprising:

              providing, by the one or more secure servers to a merchant server providing
              a webpage to a payer computing system used by the payer, an application
              programming interface (API) that:

              provides financial account registration and token retrieval functions that can
              be executed to process the payment transaction;

              provides access to the financial account registration and token retrieval
              functions to the merchant server;

              receives, from the merchant server via the API, at least one data element
              associated with the payer and a payment amount from the payer to the
              payee;

              authenticates the payee; and

              executes the financial account registration function, upon initiation by the
              merchant server, by:

                     generating a uniform resource locator (URL), for establishing a
                     secure socket layer connection via the internet between the secure
                     server and the payer computing system, the URL comprising either:

                             a dynamic URL generated by the secure server for the payer
                             and the payee; or a static URL and a hypertext transport
                             protocol (HTTP) parameter used by the secure server to
                             identify the payer and the payee;

                     establishing the secure socket layer connection, in response to an
                     HTTP request received from the merchant server for the generated
                     URL, between the secure server and the payer computing system
                     within a window or frame that is displayed within the webpage
                     provided by the merchant server;

                     outputting instructions to the payer computing system, in response
                     to the HTTP request for the generated URL, to render a financial
                     account registration request form, within the window or frame that

                                                6
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                        is displayed within the webpage provided by the merchant server,
                        that provides functionality for the payer to provide sensitive
                        financial account information associated with a financial account;
                        and

                        outputting instructions to the payer computing system, in response
                        to the HTTP request for the generated URL, to encrypt the sensitive
                        financial account information provided by the payer and transmit the
                        encrypted financial account information to the secure server via the
                        secure socket layer connection;

                 receiving the sensitive financial account information provided by the payer
                 via the secure socket layer connection;

                 storing the sensitive financial account information in a secure storage
                 location and performing each software process required to maintain
                 compliance with one or more information security standards;

                 executing a token retrieval function, upon initiation by the merchant server
                 via the API, by:

                        providing a non-sensitive electronic data token representing the
                        sensitive financial account information to the merchant server
                        without providing the sensitive financial account information to the
                        merchant server and without providing the non-sensitive electronic
                        data token to the payer; and

                        processing the payment transaction using the sensitive financial
                        account information by generating and transmitting an electronic
                        request requesting the payment amount from the financial account,
                        obtaining the payment amount, and forwarding at least a portion of
                        the payment amount to the payee.

         28.     Through their “Smart Cashier” and “Token Vault” products, Defendants perform a

method of processing a payment transaction from a payer to a payee, the method being performed

by one or more secure servers and meeting every element of Claim 1. The figure below is an

excerpt from Defendants’ marketing for their Smart Cashier product: 7




7
    https://tsevo.com/Products/SmartCashier (last visited March 10, 2024).
                                                  7
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           29.   Defendants provide, by the one or more secure servers to a merchant server

providing a webpage to a payer computing system used by the payer, an application programming

interface (API). This is shown by, e.g., the following excerpt from Defendants’ marketing for their

Smart Cashier product: 8




8
    Id.
                                                8
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           30.   Defendants’ API provides financial account registration and token retrieval

functions that can be executed to process the payment transaction. This is shown by, e.g., the

following excerpt from Defendants’ marketing for their Smart Cashier product: 9




9
    Id.
                                               9
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         31.     Defendants’ API provides access to the financial account registration and token

retrieval functions to the merchant server. This is shown by, e.g., the following excerpt from

Defendants’ documentation for marketing for their “GIDX” platform: 10




10
     https://www.tsevo.com/Docs/ApiReference (last visited March 10, 2024).
                                                10
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        32.         Defendants’ API receives, from the merchant server via the API, at least one data

element associated with the payer and a payment amount from the payer to the payee. This is

shown         by,       e.g.,    the     “MerchantCustomerID,”        “CustomerIpAddress,”       and

“CashierPaymentAmount” parameters of the “CreateSession” method of the “WebCashier” folder

of Defendants’ documentation: 11




11
  https://www.tsevo.com/Docs/WebCashier#MethodRef_ID_CreateSession (last visited March
10, 2024).
                                                   11
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 33.   Defendants’ API authenticates the payee. This is shown by, e.g., the “ApiKey” and




                                      12
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“MerchantID” parameters of the “WebCashier” folder of Defendants’ documentation: 12




         34.      Defendants’ API executes the financial account registration function, upon

initiation by the merchant server, by:

               a. (i) Generating a uniform resource locator (URL), for establishing a secure socket

                  layer connection via the internet between the secure server and the payer computing




12
     https://www.tsevo.com/Docs/WebCashier (last visited March 10, 2024).
                                                  13
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                 system, the URL comprising either: a dynamic URL generated by the secure server

                 for the payer and the payee; or a static URL and a hypertext transport protocol

                 (HTTP) parameter used by the secure server to identify the payer and the payee.

                 This is shown by, e.g., the “SessionURL” described under “Cashier Service” in the

                 GIDX Platform documentation: 13




             b. (ii) Establishing the secure socket layer connection, in response to an HTTP request

                 received from the merchant server for the generated URL, between the secure

                 server and the payer computing system within a window or frame that is displayed

                 within the webpage provided by the merchant server. This is shown by, e.g., the


13
     https://www.tsevo.com/Docs/Integration (last visited March 10, 2024).
                                                 14
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                  description of the “direct connection” described under “Cashier Service” in the

                  GIDX Platform documentation: 14




               c. (iii) Outputting instructions to the payer computing system, in response to the

                  HTTP request for the generated URL, to render a financial account registration

                  request form, within the window or frame that is displayed within the webpage

                  provided by the merchant server, that provides functionality for the payer to provide

                  sensitive financial account information associated with a financial account. This is

                  shown by, e.g., the “HTML interface” in the same excerpt shown above.

               d. (iv) And outputting instructions to the payer computing system, in response to the

                  HTTP request for the generated URL, to encrypt the sensitive financial account


14
     Id.
                                                   15
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                  information provided by the payer and transmit the encrypted financial account

                  information to the secure server via the secure socket layer connection. This is

                  shown by, e.g., the same portions of the documentation discussed in the previous

                  paragraphs and by the “HTML webpage”: 15




15
     Id.
                                                 16
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       35.    Defendants receive the sensitive financial account information provided by the

payer via the secure socket layer connection. This is indicated by, e.g., the excerpt shown above




                                               17
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and by the “Example Response” that Defendants provide for “Save PaymentMethod”: 16




       36.    Defendants store the sensitive financial account information in a secure storage

location and performs each software process required to maintain compliance with one or more

information security standards. This is shown by, e.g., the following excerpt from Defendants’




16
  https://www.tsevo.com/Docs/DirectCashier#MethodRef_ID_PaymentMethod_Save (last
visited March 10, 2024):
                                             18
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marketing for their Smart Cashier product: 17




            37.   Defendants execute a token retrieval function, upon initiation by the merchant

server via the API, by: providing a non-sensitive electronic data token representing the sensitive

financial account information to the merchant server without providing the sensitive financial

account information to the merchant server and without providing the non-sensitive electronic data

token to the payer; and processing the payment transaction using the sensitive financial account

information by generating and transmitting an electronic request requesting the payment amount

from the financial account, obtaining the payment amount, and forwarding at least a portion of the

payment amount to the payee. For example, the “tokens” described in the excerpt above show “a

non-sensitive electronic data token,” and the “PCI Compliance” excerpt in Defendants’ marketing



17
     Id.
                                                19
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materials shows that it processes a payment: 18




       38.     Defendants had actual knowledge of the Asserted Patent and the infringement of

the same no later than the date of this Complaint.

       39.     Defendants have and continue to indirectly infringe one or more claims of the

Asserted Patent by inducing and/or contributing to direct infringement of the Asserted Patent by

customers, importers, sellers, resellers, and users of the Infringing Methods. The direct infringers

include, for example, at least the following: Genscape, Waterborne Energy, DraftDemons.com,

and HogWildPoker. 19

       40.     Defendants have and continue to induce others to directly infringe, either literally

or under the doctrine of equivalents, by, among other things, making, using, offering to sell, selling

and/or importing into the United States, without authority, products or services that practice one

or more claims of the Asserted Patent.

       41.     Defendants induced the infringement by others with the intent to cause infringing

acts by others or, in the alternative, with the belief that there was a high probability that others

infringe the Asserted Patent, but while at best, remaining willfully blind to the infringement.




18
   https://tsevo.com/Products/SmartCashier (last visited March 10, 2024).
19
   https://tsevo.com/Industry/EnergyOilGas (last visited March 11, 2024);
https://tsevo.com/#Clients (last visited March 11, 2024).
                                                  20
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         42.     As discussed in Paragraphs 23–37, above, Defendants advertise the Infringing

Methods, publish specifications and promotional literature encouraging customers to implement

and incorporate the Infringing Methods into end user products, create and/or distribute user

manuals for the Infringing Methods that provide instructions and/or encourage infringing use, and

offer support and/or technical assistance to their customers that provide instructions on and/or

encourage infringing use.

         43.     Defendants encourage and facilitate their customers to infringe the Asserted Patent

by promoting the Infringing Methods, for example, providing documentation and stating in their

documentation for the GIDX Platform that “This set of documents serves as the integration guide

for implementing services of the GIDX Platform API within the operator’s environment. The

following pages outline the GIDX Platform API access points, security, methods, and parameters.

As always, please contact us at devteam@tsevo.com any time if further explanation is needed.” 20

         44.     Defendants’ customers that incorporate the Infringing Methods into other products

and services (e.g., Genscape, Waterborne Energy, DraftDemons.com, and HogWildPoker) each

directly infringe the Asserted Patent pursuant to Defendants’ instructions and advertisements.

         45.     Additionally, Defendants have and continue to contribute to the direct infringement

of others, either literally or under the doctrine of equivalents, by, among other things, offering to

sell or selling within the within the United States, components of a patented device or an apparatus

for use in practicing the claimed method, constituting a material part of the invention.

         46.     As discussed in Paragraphs 23–37, above, Defendants provide APIs and example

code for the Infringing Methods that constitute a component of a patented device or an apparatus

for use in practicing the claimed method.



20
     https://www.tsevo.com/Docs/ApiReference (last visited March 10, 2024).
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       47.     Defendants do this knowing the same to be especially made or especially adapted

for use in an infringement of such patent, and not a staple article or commodity of commerce

suitable for substantial noninfringing use.

       48.     Defendants’ customers that incorporate the APIs and example code into other

products and services (e.g., Genscape, Waterborne Energy, DraftDemons.com, and

HogWildPoker) each directly infringe the Asserted Patent.

                                      V.      JURY DEMAND

       49.     Autoscribe hereby demands a trial by jury on all issues so triable.

                                VI.        PRAYER FOR RELIEF

       WHEREFORE, Autoscribe requests entry of judgment in its favor and against Defendants

as follows:

   a) A declaration that Defendants have directly infringed one or more claims of the Asserted

       Patent, either literally or under the doctrine of equivalents;

   b) A declaration that Defendants have induced and/or contributed to infringement and/or are

       inducing and/or contributing to infringement of one or more claims of the Asserted Patent,

       either literally or under the doctrine of equivalents;

   c) An award of damages pursuant to 35 U.S.C. § 284 adequate to compensate Autoscribe for

       Defendants’ infringement of the Asserted Patent in an amount according to proof at trial

       (together with prejudgment and post-judgment interest), but no less than a reasonable

       royalty;

   d) An award of costs and expenses pursuant to 35 U.S.C. § 284 or as otherwise permitted by

       law; and

   e) Such other and further relief, whether legal, equitable, or otherwise, to which Autoscribe

       may be entitled or which this Court may order.

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Dated: March 18, 2024                     Respectfully submitted,

                                          /s/ Jason McManis
                                          Jason McManis (attorney-in-charge)
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                                          S.D. Tex. No.: 3138185
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                                          Texas Bar No.: 24105937
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